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Lauren M. Rule (OSB #015174)
Elizabeth H. Potter (OSB #105482)
ADVOCATES FOR THE WEST
3115 NE Sandy Blvd., Ste. 223
Portland, OR 97232
(503) 914-6388
lrule@advocateswest.org
epotter@advocateswest.org

Attorneys for Plaintiffs




                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                     MEDFORD DIVISION




CONCERNED FRIENDS OF THE WINEMA,                       Case No. 1:14-cv-737-CL
KLAMATH-SISKIYOU WILDLANDS CENTER,
WESTERN WATERSHEDS PROJECT,
OREGON WILD, and CENTER FOR
BIOLOGICAL DIVERSITY,                                  PLAINTIFFS’ MOTION FOR
                                                       ATTORNEYS’ FEES AND
                       Plaintiffs,                     COSTS

       v.

U.S. FOREST SERVICE, and U.S. FISH AND
WILDLIFE SERVICE,

                       Defendants,

       and

IVERSON MANAGEMENT LIMITED
PARTNERSHIP,

                       Defendant-Intervenor.
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       Plaintiffs Concerned Friends of the Winema, Klamath Siskiyou Wildlands Center,

Western Watersheds Project, Oregon Wild, and Center for Biological Diversity respectfully

move this Court for an award of reasonable attorneys’ fees and litigation expenses that they have

incurred to date in their successful prosecution of this matter against the U.S. Forest Service and

U.S. Fish and Wildlife Service.

       The Court is authorized to award Plaintiffs their reasonable attorneys’ fees and litigation

expenses against Defendant U.S. Forest Service in this case pursuant to the Equal Access to

Justice Act (EAJA) and the Endangered Species Act (ESA). EAJA provides:

       Except as otherwise specifically provided by statute, a court shall award to the
       prevailing party other than the United States fees and other expenses . . . incurred
       by that party in any civil action (other than cases sounding in tort), including
       proceedings for judicial review of agency action, brought by or against the United
       States in any court having jurisdiction of that action, unless the court finds that the
       position of the United States was substantially justified or that special
       circumstances make an award unjust.

28 U.S.C. § 2412(d)(1)(A). The ESA allows recovery of fees “whenever the court determines

that such award is appropriate.” 16 U.S.C. § 1540(g)(4). Under this provision, fees may be

appropriate when a plaintiff has achieved some success and its lawsuit was a catalyst in

achieving that success even if there was no judicial decision on the ESA claim. Association of

California Water Agencies v. Evans, 386 F.3d 879, 884 (9th Cir. 2004).

       Plaintiffs are entitled to recovery of reasonable attorneys’ fees and litigation expenses

incurred in this matter under EAJA because Plaintiffs are eligible parties as defined under EAJA;

they are the prevailing parties in this litigation, including by having the Court issue an Order

adopting the Findings and Recommendation of Judge Clarke granting summary judgment to

Plaintiffs on their National Forest Management Act and ESA claims and ordering injunctive

relief; there are no special circumstances that would make an award unjust; and Defendants’




PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS                                                     1
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position was not substantially justified. Plaintiffs are also entitled to an award of fees under the

ESA for work resulting in an agreement from the Forest Service that satisfied Plaintiffs’ initial

ESA claim.

       Plaintiffs request an award of attorneys’ fees and litigation costs incurred to date in their

successful prosecution of this litigation, based on the “lodestar” approach for fees (i.e., the

reasonable time expended by their counsel at the reasonable market rates) and based on the

actual litigation expenses incurred. Ms. Rule seeks hourly rates of between $370 and $415 for

the years 2014-2017, Ms. Potter seeks hourly rates of $290 and $305 for the years 2015-2017,

and Ms. Brumfield seeks an hourly rate of $190 for work in 2014-2015. Litigation expenses

include the filing fee, postage, and travel between Portland and Medford for a court hearing. The

total fees sought by each of Plaintiffs’ counsel is set forth below (see also Exhibit 1, attached

hereto):

Attorney Fees and Costs

       Lauren Rule:                    $294,007.00
       Elizabeth Potter:               $49,024.50
       Olivia Brumfield:               $54,699.00

       Litigation Expenses:            $ 933.20

       Total fees and expenses:        $398,663.701

       Plaintiffs and Defendants are currently negotiating in good faith to attempt to settle the

issue of attorney fees and litigation expenses. However, to insure the timely filing of this

motion, Plaintiffs file it now and will provide further briefing, declarations, timesheets and other

documents in support of this motion at a later time if negotiations fail. Specifically, Plaintiffs are

filing the accompanying motion to stay the briefing on this matter until January 19, 2018 in order
1
  If settlement negotiations are unsuccessful to resolve this fee claim, Plaintiffs reserve the right
to seek additional fees to cover further time and costs for litigating this issue.

PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS                                                        2
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to try to reach settlement and avoid litigating this matter. See Plaintiffs’ Unopposed Motion to

Stay Motion for Attorneys’ Fees and Costs (filed concurrently).

       WHEREFORE, Plaintiffs respectfully pray that the Court grant this motion; and award

them attorneys’ fees and litigation expenses in the amount of $398,663.70 for the fees and

expenses they have reasonably incurred to date in this action.



Dated: October 19, 2017                      Respectfully submitted,


                                              s/Lauren M. Rule
                                             Lauren M. Rule (OSB #015174)
                                             Elizabeth H. Potter (OSB #105482)
                                             ADVOCATES FOR THE WEST
                                             3115 NE Sandy Blvd., Ste. 223
                                             Portland, OR 97232
                                             Tel: (503) 914-6388
                                             lrule@advocateswest.org
                                             epotter@advocateswest.org

                                             Attorneys for Plaintiffs




PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS                                                   3
